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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                              SOUTHEASTERN DIVISION

WILLIAM T. COOPER, JAY R.                        )
HOLCOMB, JEFFERY D. JOHNSON,                     )
JEREMY S. STOELTING, and JAMES                   )
D. PATTON,                                       )
                                                 )
                       Plaintiffs,               ) Case No. 1:17-cv-00073
                                                 )
       V.                                        )
                                                 )
                                                 )
CORY HUTCHESON,                                  )
                                                 )
And                                              )
                                                 )
SECURUS TECHNOLOGIES, INC.                       )
                                                 )
                                                 )
                       Defendants.               )



                        MEMORANDUM IN OPPOSITION TO
                    MOTION FOR JUDGMENT ON THE PLEADINGS

   A. Introduction.

       Having previously failed to obtain dismissal of Plaintiffs’ §1983 claims, Defendant Securus

Technologies, Inc. has now filed a motion for reconsideration disguised as a motion for judgment on

the pleadings. Plaintiffs in this case are five Missouri State Highway Patrol Officers that the

Defendants in this case illegally spied on. Securus works hand in hand with law enforcement

agencies to provide cell phone location data, purportedly for the purpose of criminal investigations.

In this case, Securus helped former Mississippi County Sheriff Cory Hutcheson spy on Plaintiffs, a

state judge and others over the course of several years. Securus works with law enforcement to

make providing this sensitive information as easy as possible. And having provided that platform to
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Mississippi County, Missouri in this case, Securus looked the other way while Mr. Hutcheson

engaged in the farce of providing, for example, his health insurance policy, his auto insurance policy,

and pages from the Sheriff’s training materials to track Plaintiffs. Securus allowed this to happen in

order to appear more useful to law enforcement agencies, thereby ensuring its contracts with such

agencies continued.

        Cases are not litigated on complaints. Securus’s new motion is nothing more than a

desperate attempt to avoid discovery that will shed light on the egregious nature of its operations.

The law and procedures of this Court are not so rigid that legitimate cases are thrown out if not

pleaded with various magic words to the satisfaction of the defendant. Plaintiffs’ complaint is

exactly what it should it be, a “short and plain statement” envisioned by the Rules with enough detail

to assert a claim that is “plausible on its face”. That is all that is required and that is what is alleged.

Despite this, Securus has now spent 42 pages of briefing attacking Plaintiffs’ complaint, the last 16

pages of which spend most of their time admonishing Plaintiffs and the Court for not understanding

Securus’s arguments.

        The standard for a motion for judgment on the pleadings is the same as that for a 12(b)(6)

motion to dismiss. The Court has already decided these §1983 matters correctly. Plaintiffs

respectfully request that the Court deny Securus’s motion.

    B. Plaintiffs have alleged the elements of a §1983 claim.

        The Court identified the elements of a §1983 claim in its Memorandum and Order. (Doc. 73,

p. 3). “The essential elements of a §1983 claim are (1) that the defendant(s) acted under color of

state law, and (2) that the alleged wrongful conduct deprived the plaintiff of a constitutionally

protected federal right.” Schmidt v. City of Bella Villa, 557 F.3d 564, 571 (8th Cir. 2009) (citing

DuBose v. Kelly, 187 F.3d 999, 1002 (8th Cir. 1999)).




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        Securus spends much of its motion identifying various allegations in Plaintiffs’ complaint

and then extrapolating or interpreting those allegations to fit Securus’s arguments. These arguments

have no place in Rule 12 motion practice since the Court must accept all of Plaintiffs’ factual

allegations as true and construe those allegations in Plaintiffs’ favor. Kulkay v. Roy, 847 F.3d 637,

641 (8th Cir. 2017). A recitation of Plaintiffs’ entire complaint is not warranted, but Plaintiffs allege

among other things that:

        17. Securus is a company that provides communications systems, call management,
        and other services to law enforcement agencies and correctional facilities.

                                             ***

        20. To “ping” a cell phone, a law enforcement officer provides Securus with an
        individual’s cell phone number and other information.

        21. In return, Securus provides the law enforcement officer the location of the cell
        phone in near real time, as well as other information personal to the cell phone user.

                                             ***

        24. Mr. Hutcheson used the Securus platform to obtain the location of Plaintiffs on
        multiple occasions.

        25. Mr. Hutcheson obtained Plaintiffs’ location information while acting as an
        employee of Mississippi County, Missouri, and/or as Sheriff of Mississippi County,
        Missouri.

                                             ***

        32. However, Securus’s platform and software provide no safeguards to ensure that
        any particular “ping” request is legitimate.

        33. And Securus provides no further in-person review of any particular request.

        34. Mr. Hutcheson for example, routinely uploaded various documents to Securus’s
        platform that have no legal basis in obtaining LBS.

        35. Mr. Hutcheson obtained LBS through Securus by submitting his health insurance
        policy to the platform.




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       36. Mr. Hutcheson obtained LBS through Securus by submitting his auto insurance
       policy to the platform.

       37. Mr. Hutcheson obrtained LBS through Securus by submitting pages from the
       Sheriff’s training materials to the platform.

                                            ***

       49. Securus entered into a contract with Mississippi County to provide LBS and
       specifically, to allow Mississippi County personnel, such as Mr. Hutcheson, to
       “ping” cell phones.

       50. In providing LBS, Securus is performing an activity that is traditionally reserved
       to the state, i.e. investigation and information gathering on alleged criminals.

       51. “Pinging” a cell phone constitutes a search and seizure under the Fourth
       Amendment and is an invasion of the reasonable expectation of privacy of citizens.

       52. Securus acted in joint participation with both Mississippi County, Missouri and
       Mr. Hutcheson when Securus provided LBS.

       53. In order to make LBS more valuable, Securus intentionally makes it easier for
       users to obtain LBS by turning a blind eye to the documents uploaded to its platform
       and by refusing to implement procedures to review requests for LBS.

       54. Securus’s actions and Mr. Hutcheson’s actions constitute an unreasonable search
       and seizure in that they were conducted without probable cause, lawful warrant or
       other process.

       55. Securus’s acts and Mr. Hutcheson’s acts were committed under color of state
       law.

(See Doc. 53).

       Plaintiffs have both expressly alleged both elements of a §1983 claim and have further

alleged specific facts in support of those elements. This alone is enough to state a claim and avoid

Securus’s motion for judgment on the pleadings. Moreover, these allegations have been made

without the benefit of any discovery. Plaintiffs have been illegally spied on, but do not yet have, for

example, all Securus contracts with Mississippi County, communications among them, pinging

history, Securus’s process and procedures for utilizing its services, etc. As in every other case,




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Plaintiffs have the right to conduct discovery and amend their pleadings to further their allegations as

necessary.

   C. Determination of a state action is a fact-intensive inquiry, making dismissal/judgment
      on the pleadings inappropriate.

       The Supreme Court has articulated various tests for state action and identified the inquiry as

one that is “necessarily factbound” depending on the circumstances of each case. See Lugar v.

Edmondson Oil Co. Inc., 457 U.S. 922, 939 (1982); see also Brentwood Academy v. Tennessee

Secondary School Athletic Ass’n, 531 U.S. 288, 298 (2001). In Wickersham v. City of Columbia, the

Court stated:

       Our ultimate conclusion must turn on the particular facts of the case, since “[o]nly by
       sifting facts and weighing circumstances can the nonobvious involvement of the
       State in private conduct be attributed its true significance.” The one unyielding
       requirement is that there be a “close nexus” not merely between the state and the
       private party, but between the state and the alleged deprivation itself.

481 F.3d 591, 597 (8th Cir. 2007) (internal citations omitted).

       Because the determination of state action is necessarily fact-intensive, dismissal or judgment

on the pleadings is inappropriate. See Murray v. Wal-Mart, Inc., 874 F.2d 555, 558 (8th Cir. 1989)

(“A complaint need not be articulately drafted in order to adequately allege that private persons are

acting under color of state law.”); see also Guild v. Securus Technologies, Inc., 2015 WL 10818584

(W.D. Texas) (denying Securus’ motion to dismiss on state action grounds in context of providing

prison telephone services); Estate of Beelek v. Farmington Missouri Hosp. Co., LLC, 2011 WL

4008018 (E.D. Mo. 2011) (denying motion to dismiss §1983 claim based on state action requirement

for private corporation); Holloway v. Ameristar Casino St. Charles, Inc. 2008 WL 762086, *4 (E.D.

Mo. 2008) (denying motion to dismiss §1983 claim based on state action requirement for private

corporation).




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    D. Plaintiffs have sufficiently alleged a close nexus and joint participation among Securus
       and Hutcheson.

        The Court has previously identified three non-exclusive circumstances under which a private

party may be characterized as a state actor, and the Court has also correctly stated that in any case,

there must be a “close nexus” between the state and the private party. (Doc. 73, pp. 3-4).

        Among other things, Plaintiffs allege joint participation among Hutcheson and Securus to

deprive Plaintiffs of their constitutional rights. (Doc. 53, ¶¶ 48-55). To analyze this claim, the Court

need not look any further than a case it has already cited, Meier v. City of Saint Louis, 934 F.3d 824

(8th Cir. 2019), wherein the Eighth Circuit recently reversed summary judgment entered in favor of

a private party using this analysis.

        In Meier, a police officer was investigating a hit and run accident. Id. at 826-27. The

plaintiff’s son was arrested while sitting in plaintiff’s vehicle, after which the police officer called a

private towing company to tow the vehicle away. Id. at 827. The towing company later refused to

release the vehicle until it was released by the police department. Id. The district court entered

summary judgment for the towing company, finding that it was not a state actor under the

circumstances. Id. The Court of Appeals reversed, reciting the applicable law as follows:

        The Supreme Court has recognized a number of circumstances in which a private
        party may be characterized as a governmental actor, including where a private actor
        is a willful participant in joint activity with the governmental entity or its agents.
        The one unyielding requirement is that there be a close nexus not merely between
        the state and the private party, but between the state and the alleged deprivation
        itself.

Id. at 829.

        The Court found that the evidence would allow a jury to find both a “close nexus” between

the towing company and law enforcement and also that those parties shared a mutual understanding

and willful participation in detaining the vehicle. Id. at 830.




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        Similarly, in Smith v. Insley’s Inc., the defendant was a private towing company that towed

the plaintiff’s car at the behest of the local sheriff’s office. 499 F.3d 875, 878 (8th Cir. 2007). The

towing company later sold the vehicle and the owner filed suit under §1983 alleging, among other

things, the sale was unconstitutional. Id. at 879. The case turned on whether the private towing

company was a state actor. The Court stated:

        First, we think it clear that Insley’s was a state actor when it initially towed and
        stored the vehicle at the behest of the sheriff’s office as part of an official criminal
        investigation. Insley’s relied upon governmental benefits in performing the tow—as
        the sheriff’s contracted vendor for this service, it had a monopoly on sheriff towing
        during March 2003. And it was performing the traditional governmental function of
        seizing and securing property for a criminal investigation.

Id. at 880.

        This case is similar in concept to both Meier and Smith. Plaintiffs allege that Securus

contracted with Mississippi County to ping cell phones and provide LBS. (Doc. 53, ¶ 49). They

allege Securus obtained Plaintiffs’ location information at the behest of the Sheriff’s Department and

then provided that information to the Sheriff’s Department. (Doc. 53, ¶¶ 19 – 25). They allege

Securus’s policy is to turn a blind eye to the validity of LBS requests. (Doc. 53, ¶ 53). These

actions constitute the traditional government functions of searching for and seizing information

pursuant to an alleged criminal investigation, and also constitute joint participation between Securus

and Mississippi County. (Doc. 53, ¶¶ 48 -54).

        Securus argues that both Plaintiffs and the Court do not understand that there must be a

“mutual understanding” concerning an unlawful action. What Securus does not understand is that the

Federal pleading standard does not require the use of magic words in order to proceed with a case. 1

The suggestion that Plaintiffs’ allegations do not identify a “mutual understanding” and/or


1Securus also argues that a “private party must literally conspire with a state actor to share liability
for its illegal conduct.” (Doc. 76, p. 2) (emphasis in original). But note that the decisions in both
Meier and Smith contain no reference to any conspiracy requirement.


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unconstitutional “policy” is not well-taken, as that is the only reasonable inference to take from the

allegations. However, to the extent explicitly alleging any such “mutual understanding”, “policy” or

“conspiracy” is required, Plaintiffs are more than willing to amend their pleadings and make those

allegations since the egregious nature of Securus’s operations with law enforcement in this case

would support such allegations.

   E. Plaintiffs have sufficiently alleged that Securus was performing a function traditionally
      exclusively reserved to the State.

       The Eighth Circuit’s statement in Smith above is worth repeating here:

       First, we think it clear that Insley’s was a state actor when it initially towed and
       stored the vehicle at the behest of the sheriff’s office as part of an official criminal
       investigation. Insley’s relied upon governmental benefits in performing the tow—as
       the sheriff’s contracted vendor for this service, it had a monopoly on sheriff towing
       during March 2003. And it was performing the traditional governmental function of
       seizing and securing property for a criminal investigation.

499 F.3d at 880 (emphasis added).

         Plaintiffs literally allege that Securus did the same thing here, i.e. seizing and securing

property (cell phone data) for a criminal investigation. Other courts agree that searches and

investigations at the request of law enforcement are traditional and exclusive public functions. See

e.g. Camm v. Faith, 937 F.3d 1096, 1105 (7th Cir. 2019) (finding that private forensic analysts

“easily” qualify as state actors under these principles); Sanchez v. Pereira-Castillo, 590 F.3d 31, 52

(1st Cir. 2009) (citing Rodriques v. Furtado, 950 F.2d 805, 814 (1st Cir. 1991) for proposition that

doctors performing searches at the direction of police are performing functions traditionally reserved

to the state)); Warner v. Grand County, 57 F.3d 962, 964 (10th Cir. 1995) (“As an ‘auxiliary to

police search procedures, Ms. Parker exercised a search power which has traditionally been reserved

for the states.”); Burks v. Carter, 2013 WL 822513, *2-3 (E.D. Ar. 2013) (denying summary




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judgment to private physician due to fact issues over whether physician pumped suspect’s stomach

at the direction of police).

        Plaintiffs have sufficiently alleged state action on this basis.

    F. The Court should grant leave to amend if necessary.

        Securus’s motion should be denied outright, as described above. If, however, the Court

determines that the Second Amended Complaint is not properly pleaded, Plaintiffs respectfully

request leave to file an amended pleading.

    G. Conclusion.

        For all the foregoing reasons, the Motion for Judgment on the Pleadings should be denied,

and the parties should proceed with discovery.

                                                Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

        I hereby certify that on September 14, 2020 the foregoing was filed electronically with the
Clerk of Court to be served by operation of the Court’s electronic filing system to the attorneys of
record in this case.

                                                                /s/ John C. Steffens




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